        Case 1:24-mj-00208-RMM Document 1-1 Filed 06/26/24 Page 1 of 7




                                  STATEMENT OF FACTS

        Your affiant,
office. In my duties as a special agent, I conduct investigations related to domestic terrorism and
related criminal violations. Currently, I am tasked with investigating criminal activity in and
around the Capitol grounds on January 6, 2021. As a Special Agent, I am authorized by law or by
a government agency to engage in or supervise the prevention, detection, investigation, or
prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in the United States Capitol to certify the vote count of the Electoral College of the 2020
Presidential Election, which had taken place on November 3, 2020. The joint session began at
approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and Senate
adjourned to separate chambers to resolve a particular objection. Vice President Mike Pence was
present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
         Case 1:24-mj-00208-RMM Document 1-1 Filed 06/26/24 Page 2 of 7




violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        Following the events of January 6, 2021, the FBI identified an unknown subject
participating in the Capitol riot. Image 1 depicted the subject, circled in yellow, wearing an olive
jacket with a distinct blue collar, dark color beanie, and black backpack.




                    Image 1: The subject among the mob on January 6, 2021.

        At approximately 1:20 p.m. – nearly twenty minutes after rioters initially breached the
restricted Capitol grounds – open source and police Body Worn Camera (“BWC”) footage
captured the subject approach a bike rack barricade separating police officers from rioters on the
Capitol’s West Front. At this location the subject yelled at officers and forcefully pushed a bike
rack barricade into U.S. Capitol Police Officers in an apparent attempt to breach the police line at
this location. In response, officers successfully repelled the subject’s advance and deployed a
chemical irritant in the subject’s direction to preempt further aggression by the subject. Image 2,
3, and 4, are still photos – excerpted from open source and BWC footage – that capture these
actions.




                Image 2: BWC footage of the subject approaching the police line.
        Case 1:24-mj-00208-RMM Document 1-1 Filed 06/26/24 Page 3 of 7




         Image 3: Open-source footage of the subject pushing a barricade into officers.




 Image 4: Open-source footage of the subject struggling with officers over the barricade in an
                          attempt to breach the police barricade.

        After this incident, the subject remained on Capitol grounds as the riot developed. At
approximately 2:11 p.m. open-source footage and U.S. Capitol Police surveillance cameras (or
“CCTV”) captured the subject on the West Front deploy a fire extinguisher toward a police line
assembled to stop rioters from advancing on Capitol grounds. Image 5 and 6 capture the subject’s
actions at this location.
            Case 1:24-mj-00208-RMM Document 1-1 Filed 06/26/24 Page 4 of 7




      Image 5: Open-source image of the subject deploying a fire extinguisher at police officers.




     Image 6: CCTV footage of the cloud resulting from the subject’s use of the fire extinguisher.

       While he was on the West Front, the subject moved to a media tower assembled for the
upcoming inauguration. Once the subject arrived at the media tower, the subject climbed the
tower and, once at the top, waived a “Three Percenters”1 flag above the mob in a manner that
appeared to display triumph and solidarity with other rioters.




1
    “Three Percenters” are an American far-right anti-government militia.
        Case 1:24-mj-00208-RMM Document 1-1 Filed 06/26/24 Page 5 of 7




              Image 7: The subject atop a media tower waving a “Three Percenters” flag.

        After January 6, 2021, the FBI received additional information concerning
#littlemansprayer, a moniker attributed to the subject following January 6, 2021. Specifically, the
FBI received open-source footage of the subject recorded in Washington D.C. on January 5,
2021; in the footage, during an impromptu interview in Washington D.C. with another rioter, the
subject identified himself as a Nebraska native currently living in Washington State. The subject
also disclosed that he was a veteran of the Unites States Army and had previously received
treatment from the Department of Veteran Affairs.




                  Image 8: The subject speaking with other rioters on January 5, 2021.

        Using this information, in conjunction with data from the Department of Veteran Affairs
and other public records research, the FBI made a preliminary determination in March 2023 that
#littlemansprayer was associated with an individual named David Michael Camden, an Arkansas
         Case 1:24-mj-00208-RMM Document 1-1 Filed 06/26/24 Page 6 of 7




resident with a previous address in Snohomish, Washington. In a subsequent interview, an
individual residing in Snohomish, Washington who personally knew Camden positively identified
Camden in photos at the Capitol on January 6, 2021 and the subject referenced throughout this
affidavit. 2 A grand jury subpoena to Camden’s credit card provider revealed purchases in various
cities in the days preceding January 6th, 2021, such as Saint Paul, Minnesota and Greenfield,
Indiana, that were consistent with a travel route from Washington State to Washington D.C. 3

        Based on the foregoing, your affiant submits there is probable cause to believe that Camden
violated 18 U.S.C. 231(a)(3), which makes it unlawful to commit or attempt to commit any act to
obstruct, impede, or interfere with any fireman or law enforcement officer lawfully engaged in the
lawful performance of his official duties incident to and during the commission of a civil disorder
which in any way or degree obstructs, delays, or adversely affects commerce or the movement of
any article or commodity in commerce or the conduct or performance of any federally protected
function. For purposes of Section 231 of Title 18, a federally protected function means any
function, operation, or action carried out, under the laws of the United States, by any department,
agency, or instrumentality of the United States or by an officer or employee thereof. This includes
the Secret Service’s protection of the Vice President and his family and the Capitol Police’s
protection of the U.S. Capitol.

        I submit there is also probable cause to believe that Camden violated 18 U.S.C. §
111(a)(1), which makes it a crime to forcibly assault, resist, oppose, impede, intimidate, or
interfere with any person designated in section 1114 of Title 18 while engaged in or on account
of the performance of official duties, where such acts involve physical contact with the victim or
the intent to commit another felony. Persons designated within section 1114 of Title 18 include
federal officers such as USCP officers, and include any person assisting an officer or employee
of the United States in the performance of their official duties.

        I further submit there is probable cause to believe that Camden violated 18 U.S.C. §
1752(a)(1), (2), and (4) which makes it a crime to (1) knowingly enter or remain in any restricted
building or grounds without lawful authority to do so; and (2) knowingly, and with intent to impede
or disrupt the orderly conduct of Government business or official functions, engage in disorderly
or disruptive conduct in, or within such proximity to, any restricted building or grounds when, or
so that, such conduct, in fact, impedes or disrupts the orderly conduct of Government business or
official functions; (4) knowingly engages in any act of physical violence against any person or
property in any restricted building or grounds;] or attempts or conspires to do so. For purposes of
Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise
restricted area of a building or grounds where the President or other person protected by the Secret
Service, including the Vice President, is or will be temporarily visiting; or any building or grounds
so restricted in conjunction with an event designated as a special event of national significance.

        Your affiant submits there is also probable cause to believe that Camden violated 40 U.S.C.
§ 5104(e)(2)(D) and (F), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the

2
 This individual also confirmed that Camden moved from Washington to Arkansas following the COVID-19
pandemic.
         Case 1:24-mj-00208-RMM Document 1-1 Filed 06/26/24 Page 7 of 7




Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and (F) engage in an act of physical violence in the Grounds or any of the Capitol
Buildings.




                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 26th day of June 2024.



                                                                      2024.06.26
                                                                      16:50:01 -04'00'
                                              ___________________________________
                                              HONORABLE ROBIN M. MERIWEATHER
                                              UNITED STATES MAGISTRATE JUDGE
